               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION
                      3:21-cv-00501-RJC-WCM

FS MEDICAL SUPPLIES, LLC,                 )
                                          )
            Plaintiff,                    )
                                          )                  ORDER
                                          )
            v.                            )
                                          )
TANNERGAP, INC. and                       )
TANNER PHARMA UK LIMITED,                 )
                                          )
           Defendants.                    )
_____________________________________     )

      This matter is before the Court on the Motion for Admission Pro Hac

Vice and Affidavit (Doc. 286) filed by Allison J. Becker. The Motion indicates

that Ms. Becker, a member in good standing of the Bar of this Court, is local

counsel for non-parties Zhejiang Orient Gene Biotech Co., Ltd. and Healgen

Scientific Limited Liability Company and that she seeks the admission of Peter

G. Siachos, who the Motion represents as being a member in good standing of

the Bar of South Carolina. It further appears that the requisite admission fee

has been paid, and that there is no opposition to the Motion.




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      Accordingly, the Court GRANTS the Motion (Doc. 286) and ADMITS

Peter G. Siachos to practice pro hac vice before the Court in this matter while

associated with local counsel.
                                 Signed: January 13, 2025




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